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                         UNITED STATES BANKRUPTCY COURT                   NTCTRC (rev 09/2014)
                               Southern District of Indiana
                                46 E. Ohio St., Rm. 116
                                 Indianapolis, IN 46204
In re:

Jeremy Joseph Jackson,                                  Case No. 17−07453−RLM−13
Tina Lynn Jackson,
            Debtors.

                           NOTICE OF TRANSFER OF CLAIM

A Transfer of Claim #6 was filed on May 4, 2020, by Creditor U.S. Bank Trust National
Association, as Trustee and is attached to this notice.

NOTICE IS GIVEN that the transferee will be substituted as the original claimant without
further order of the Court unless an objection is filed by May 26, 2020.

Dated: May 5, 2020                           Kevin P. Dempsey
                                             Clerk, U.S. Bankruptcy Court
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